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                               UNITED STATES DISTRICT COURT
                               WESTERN DISTRICT OF LOUISIANA
                                   SHREVEPORT DIVISION

 DAVID M. WASHINGTON                                        CIVIL ACTION

 VS.                                                        NO. 5:19-CV-0550-SMH-MLH

 THE PRUDENTIAL INSURANCE COMPANY OF AMERICA


                                           ORDER

        Considering      the     Joint   Stipulation   of    Dismissal   with   Prejudice,

        IT IS HEREBY ORDERED that, pursuant to Federal Rule of Civil Procedure

 41(a)(1)(A)(iii), the above-referenced matter is hereby dismissed with prejudice and with

 each party to bear their own costs.

        THUS DONE AND SIGNED, this 20th day of April, 2020, in Shreveport, Louisiana.
